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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
     Sacramento, California 95814-2282
 3   (916) 447-1193
 4   Attorney for Defendant
     ANGELITO EVANGELISTA
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )                  No. CR-S-08-318 LKK
                                   )
12         Plaintiff,              )              STIPULATION AND
                                   )              ORDER EXTENDING
13   v.                            )              DUE DATE FOR
                                   )              SECURED BOND
14   ANGELITO EVANGELISTA,         )
                                   )
15         Defendant.              )
     ______________________________)
16
            It is hereby stipulated and agreed to between, Angelito Evangelista, by and through
17
     counsel, Dwight M. Samuel, Attorney at Law and United States of America, by and through
18
     Courtney Linn, Assistant United States Attorney, that the Secured Bond, originally ordered to be
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     filed on July 23, 2008 be extended to permit filing on or by July 30, 2008.
20
     Respectfully submitted,
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     Dated: July 23, 2008
22
                                                          /s/ Dwight M. Samuel
23                                                        DWIGHT M. SAMUEL
                                                          Attorney for Defendant
24   ////
25   ////
26   ////
27   ////
28   ////
                 Case 2:08-cr-00318-DAD Document 82 Filed 07/24/08 Page 2 of 2


 1   Dated: July 23, 2008
 2                                                     /s/ Courtney Linn1
                                                       COURTNEY LINN
 3                                                     Assistant U.S. Attorney
 4   IT IS SO ORDERED.
 5   Dated: July 24, 2008.
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                Signed per telephonic authorization.
